  Case 22-50029-jwc                           Doc 22 Filed 02/11/22 Entered 02/12/22 00:40:59                                         Desc Imaged
                                                    Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1                  Doris Ross                                                                Social Security number or ITIN   xxx−xx−6598

                          First Name     Middle Name     Last Name                                  EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                            Social Security number or ITIN _ _ _ _
(Spouse, if filing)       First Name     Middle Name     Last Name
                                                                                                    EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia
Court website: www.ganb.uscourts.gov                                                                Date case filed for chapter 13 1/3/22

Case number:          22−50029−jwc



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue,
garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees.
Under certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a
stay.
Confirmation of a chapter 13 plan may result in a discharge. (See line 13 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov). Copy fees or access charges may apply. A free automated
response system is available at 866−222−8029 (Georgia Northern). You must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                    About Debtor 1:                                            About Debtor 2:
1. Debtor's full name                               Doris Ross

2. All other names used in the
   last 8 years
                                                    5801 Rock Springs Road
3. Address                                          Lithonia, GA 30038

     Debtor's attorney
4.                                                  Pro Se
     Name and address
5. Bankruptcy trustee                               Nancy J. Whaley                                            Contact phone 678−992−1201
                                                    Nancy J. Whaley, Standing Ch. 13 Trustee                   www.njwtrustee.com
                                                    Suite 120, Truist Plaza Garden Offices
     Name and address                               303 Peachtree Center Avenue
                                                    Atlanta, GA 30303

6. Bankruptcy clerk's office                                                                                   Office Hours: 8:00 a.m. − 4:00 p.m.
                                                    M. Regina Thomas
                                                    Clerk of Court                                             Court website: www.ganb.uscourts.gov
     Documents in this case may be filed
     at this address. You may inspect all           1340 United States Courthouse
     records filed in this case at this                                                                        Contact phone 404−215−1000
                                                    75 Ted Turner Drive SW
     o f f i c e o r o n l i n e a t                Atlanta, GA 30303
      https://pacer.uscourts.gov.
                                                                                                                    For more information, see page 2




Official Form 309I (For Individuals or Joint Debtors)        Notice of Chapter 13 Bankruptcy Case                                            page 1
  Case 22-50029-jwc                           Doc 22 Filed 02/11/22 Entered 02/12/22 00:40:59                                                     Desc Imaged
                                                    Certificate of Notice Page 2 of 4
Debtor Doris Ross                                                                                                                           Case number 22−50029−jwc

7. Meeting of creditors                           February 3, 2022 at 11:00 AM                                          Location:
                                                                                                                        Meeting will be telephonic. To attend, Dial:
                                                                                                                        866−784−5799 and enter: 2807208, when
    Debtors must attend the meeting               The meeting may be continued or adjourned to a later date. If so,     prompted for participation code.
    to be questioned under oath. In a             the date will be on the court docket.
    joint case, both spouses must
    attend.                                       TO THE DEBTOR: Bring an original government issued photo ID
    Bring a copy of this notice with              and confirmation of social security number. Provide the Trustee a
    you. Creditors may attend, but are            copy of your most recently filed tax return seven days prior to the
    not required to do so. Cellular               meeting, but DO NOT FILE WITH THE COURT.
    phones and other devices with
    cameras are not allowed in the
    building.                                     TO OTHER PARTIES: Objections to confirmation must be filed
                                                  and served in accordance with FRBP 3015 at least seven days
                                                  before the date set for the confirmation hearing.
8. Deadlines                                       Deadline to file a complaint to challenge                                  Filing deadline: 4/4/22
                                                   dischargeability of certain debts: You must file:
    The bankruptcy clerk's office                  •    a motion if you assert that the debtors are
    must receive these documents and                    not entitled to receive a discharge under
    any required filing fee by the                      U.S.C. § 1328(f) or
    following deadlines.                           •    a complaint if you want to have a particular
                                                        debt excepted from discharge under
                                                        11 U.S.C. § 523(a)(2) or (4).
                                                   Deadline for all creditors to file a proof of claim                        Filing deadline: 3/14/22
                                                   (except governmental units):
                                                   Deadline for governmental units to file a proof of                         Filing deadline: 7/5/22
                                                   claim:


                                                   Deadlines for filing proof of claim:
                                                   A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                                   www.uscourts.gov or any bankruptcy clerk's office.

                                                   To file a claim electronically, visit www.ganb.uscourts.gov and access the ePOC tab.
                                                   If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                                   a proof of claim even if your claim is listed in the plan or schedules filed by the debtor.
                                                   Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                                   claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                                   For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                                   including the right to a jury trial.


                                                   Deadline to object to exemptions:                                           Filing deadline:   30 days after the
                                                   The law permits debtors to keep certain property as exempt. If you                             conclusion of the
                                                   believe that the law does not authorize an exemption claimed, you                              meeting of creditors
                                                   may file an objection.

9. Filing of Plan, Hearing on                     Debtor's counsel is responsible for mailing the plan if not filed contemporaneously with the petition.
   Confirmation of Plan,                          The hearing on confirmation will be held: Date: 3/15/22 ,        Time: 09:30 AM ,   Location: Courtroom 1203,
   Allowance and Approval of                      Russell Federal Building, 75 Ted Turner Drive SW, Atlanta, GA 30303
   Debtor's Counsel Attorneys                     Hearings may be by phone, video conference or in person. Please check the "Dial−In and Virtual Bankruptcy
   Fees                                           Hearing Information" link at the top of the webpage for this Court, www.ganb.uscourts.gov, for more information
                                                  and instructions.
10. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                        extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                                   any questions about your rights in this case.
11. Filing a chapter 13                            Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                                according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                                   plan and appear at the confirmation hearing. The debtor will remain in possession of the property and may
                                                   continue to operate the business, if any, unless the court orders otherwise.
12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                   distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                                   exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                                   believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                                   deadline.
13. Discharge of debts                             Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                                   However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                                   are made. A discharge means that creditors may never try to collect the debt from the debtors personally
                                                   except as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                                   523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                                   If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                                   you must file a motion.




Official Form 309I (For Individuals or Joint Debtors)         Notice of Chapter 13 Bankruptcy Case                                                      page 2
       Case 22-50029-jwc                    Doc 22 Filed 02/11/22 Entered 02/12/22 00:40:59                                             Desc Imaged
                                                  Certificate of Notice Page 3 of 4
                                                              United States Bankruptcy Court
                                                               Northern District of Georgia
In re:                                                                                                                 Case No. 22-50029-jwc
Doris Ross                                                                                                             Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113E-9                                                  User: bncadmin                                                              Page 1 of 2
Date Rcvd: Feb 09, 2022                                               Form ID: 309i                                                             Total Noticed: 23
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 11, 2022:
Recip ID                   Recipient Name and Address
db                     +   Doris Ross, 5801 Rock Springs Road, Lithonia, GA 30038-1504
23709446               +   Gregory Funding, P O Box 742334, Los Angeles, CA 90074-2334
23748989               +   NYS Department of Taxation and, 4 Harriman Campus Road, Albany, NY 12206-5421
23709448               +   Prosper Web Bank, 221 Main Street, San Francisco, CA 94105-1906
23748985               +   Service Finance Co LLC, 555 S Federal Highway, Suite 200, Boca Raton, FL 33432-6033
23709450                   Service Finance Co. LLC, 555 S Federal High, Suite 200, Boca Raton, FL 33432
23709455                   Unify FCU, 9323 Bellanca, Los Angeles, CA 90045

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + Email/Text: bnc@njwtrustee.com
                                                                                        Feb 09 2022 20:08:00      Nancy J. Whaley, Nancy J. Whaley, Standing Ch.
                                                                                                                  13 Trustee, Suite 120, Truist Plaza Garden Offices,
                                                                                                                  303 Peachtree Center Avenue, Atlanta, GA
                                                                                                                  30303-1216
cr                     + EDI: AISACG.COM
                                                                                        Feb 10 2022 01:08:00      Exeter Finance LLC, 4515 N Santa Fe Ave. Dept.
                                                                                                                  APS, Oklahoma City, OK 73118-7901
cr                     + EDI: RMSC.COM
                                                                                        Feb 10 2022 01:08:00      Synchrony Bank, c/o PRA Receivables
                                                                                                                  Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                                  23541-1021
23709442               + EDI: CAPITALONE.COM
                                                                                        Feb 10 2022 01:08:00      Capital One Bank, 1680 Capital One Drive, Mc
                                                                                                                  Lean, VA 22102-3407
23709443               + EDI: CITICORP.COM
                                                                                        Feb 10 2022 01:08:00      Citi Cards CBNA, 5800 South Corporate Place,
                                                                                                                  Sioux Falls, SD 57108-5027
23709444               + Email/PDF: acg.exeter.ebn@aisinfo.com
                                                                                        Feb 09 2022 20:12:54      Exeter Finance Corp., P.O. Box 166097, Irving,
                                                                                                                  TX 75016-6097
23709445                   Email/Text: bk@freedomfinancialnetwork.com
                                                                                        Feb 09 2022 20:08:00      Freedom Financial, 1875 South Grant Street, Suite
                                                                                                                  425, San Mateo, CA 94402
23709447               + Email/Text: electronicbkydocs@nelnet.net
                                                                                        Feb 09 2022 20:08:00      Nelnet, P.O. Box 82561, Lincoln, NE 68501-2561
23713369                   EDI: ECMC.COM
                                                                                        Feb 10 2022 01:08:00      Nelnet on behalf of ECMC, Educational Credit
                                                                                                                  Management Corp, PO Box 16408, St. Paul MN
                                                                                                                  55116-0408
23710521               + EDI: RECOVERYCORP.COM
                                                                                        Feb 10 2022 01:08:00      PRA Receivables Management, LLC, PO Box
                                                                                                                  41021, Norfolk, VA 23541-1021
23723470               + EDI: DRIV.COM
                                                                                        Feb 10 2022 01:08:00      SANTANDER CONSUMER USA INC., P.O.
                                                                                                                  BOX 961245, FORT WORTH, TX 76161-0244
23709449               + EDI: DRIV.COM
                                                                                        Feb 10 2022 01:08:00      Santander Consumer USA, 8585N. Stemmons
                                                                                                                  Fwy., Suite 1000, Dallas, TX 75247-3800
23709451               + EDI: RMSC.COM
                                                                                        Feb 10 2022 01:08:00      Syncb/Rooms To Go, c/o P O Box 965036,
                                                                                                                  Orlando, FL 32896-0001
       Case 22-50029-jwc                  Doc 22 Filed 02/11/22 Entered 02/12/22 00:40:59                                       Desc Imaged
                                                Certificate of Notice Page 4 of 4
District/off: 113E-9                                               User: bncadmin                                                         Page 2 of 2
Date Rcvd: Feb 09, 2022                                            Form ID: 309i                                                        Total Noticed: 23
23709452               + EDI: RMSC.COM
                                                                                   Feb 10 2022 01:08:00     Syncb/Shop, PO Box 965005, Orlando, FL
                                                                                                            32896-5005
23709453               + EDI: RMSC.COM
                                                                                   Feb 10 2022 01:08:00     Synchrony Bank, PO Box 965024, Orlando, FL
                                                                                                            32896-5024
23709454               + Email/Text: bankruptcy@tinkerfcu.org
                                                                                   Feb 09 2022 20:08:00     Tinker FCU, PO Box 45750, Oklahoma City, OK
                                                                                                            73145-0750

TOTAL: 16


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
23748986          *+            Service Finance Co LLC, 555 S Federal Highway, Suite 200, Boca Raton, FL 33432-6033

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 11, 2022                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 4, 2022 at the address(es) listed
below:
Name                             Email Address
Nancy J. Whaley
                                 ecf@njwtrustee.com


TOTAL: 1
